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       EXHIBIT A
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Ferrer Testimony                                               “Opens Door” to:
Q. And were you involved in responding in any way to             • All responses from law enforcement concerning Backpage’s
the subpoena request?                                               assistance.
A. Yes, I was. I even had to testify at times as a               • The testimony Mr. Ferrer provided in the cases in which he was
custodian                                                           called to admit records from Backpage.
of records.                                                      • All responses from law enforcement that show that Backpage not
Q. Okay. So can you explain to the jury what a subpoena             only provided the requested information but also provided
is?                                                                 information outside the scope of the subpoena.
A. A subpoena is a request from law enforcement to
provide records on a particular posting or user.
Q. All right. And as time went on between 2004 and
2018, did subpoena requests increase or decrease?
A. Subpoena requests continually increased. We ended
up having a total of 20,000 subpoenas involving
prostitution investigations in that time frame.

[09/13/23 AM Tr. at 63:4-15]

Q. Did you -- when you were asked to testify in these
cases, did you ever disclose to anybody these marketing
strategies that you’ve testified to the last couple of days,
the aggregation, the super poster and the relationship
with The Erotic Review?
A. I did not disclose that, nor was I asked.

[09/13/23 AM Tr. at 65:10-15]

Q. All right. So when you -- just so the jury is clear,
when you receive these subpoenas, did you have any
choice not to comply?


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Ferrer Testimony                                              “Opens Door” to:
A. There was no realistic choice. I mean, you could you
try to quash it and go to court. We just did not do that.
We just had to comply, and we complied.

[9/13/23 AM at 68:14-19]
Q. And then what does Mr. Lacey say in response to              • Following the discussions with Seattle Mayor McGinn and the
these e-mails?                                                    Washington Attorney General’s Office, Washington passed a statute
A. "We do how many million ads and he picks out one,              (SB 6251) criminalizing the dissemination of content that included
tells us at the end of the day and wants our total response       “depiction of a minor” and any “explicit or implicit offer” of sex.
by a.m.? Of course there are kids who get through                 Backpage.com, LLC v. McKenna, 881 F. Supp. 2d 1262, 1268
system. As there are in bars. This makes pursuit of               (W.D. Wash. 2012). A defense to the statute was “that a defendant
solution, ie USC study, more critical rather than scoring         obtained and retained government or school identification for the
political points."                                                person depicted,” i.e., age verification. Id. at 1268. The statute was
Q. This reference to, "As there are in bars," what did you        set to go into effect on June 7, 2012. Id. at 1269.
take that to mean from Mr. Lacey?
A. In bars you would have an I.D. to get into the bar to        • Backpage then sued McKenna. The Western District of Washington
drink alcohol.                                                    enjoined the enforcement of the statute as violative of the First
                                                                  Amendment, as well as the CDA. Id. at 1275.
[9/19/23 PM Tr. at 44:8-18]
                                                                • Specifically, with respect to Mr. Ferrer’s testimony regarding the
                                                                  purported reasons Backpage did not implement age verification in
Q. Why didn’t you implement age verification?                     response to the state of Washington’s efforts, the Western District of
A. Well, we did the slow dance with [Seattle] Mayor               Washington held: “At first blush, requiring publishers to check
McGinn to add age verification and it was kind of clunky          identification before publishing an escort ad seems as
and it was decided later by -- by the owners to no longer         commonsensical as requiring bar owners to check identification
pursue the age verification.                                      before allowing patrons to enter the door. There is, however, a key
                                                                  difference between these two scenarios. The latter is an
[9/19/23 AM Tr. at 77:22-25] (emphasis added).                    identification requirement related to conduct—drinking alcohol in a
                                                                  bar. The former is an identification requirement—imposed by the

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Ferrer Testimony                                             “Opens Door” to:
Q. All right. Was there -- do you know if there was any           government and punishable by imprisonment—related to speech.
effort in Seattle by either the mayor or law enforcement          Since there is no constitutional right to drink alcohol, courts tasked
that was asking for age verification by backpage.com?             with upholding the Constitution care little if a bar’s identification
MS. BERTRAND: Objection, leading.                                 verification process results in a line forming outside the door, or
THE COURT: Well, he can say “yes” or “no” if he                   causes some restaurants to stop serving liquor. However, because
knows.                                                            there is a constitutional right to free speech, the Constitution cannot
BY MR. RAPP: Q. Do you know?                                      permit similar collateral consequences in the First Amendment
17 A. Yes, I know.                                                context. See United States of America v. United States District
18 Q. Okay. And was there some effort?                            Court for the Central District of California, 858 F.2d 534, 539 (9th
19 A. Yes, Mayor McGinn.                                          Cir.1988) (“[A] speaker may not be put at complete peril in
                                                                  distinguishing between protected and unprotected speech.
[9/14/23 PM Tr. at 94:9-19] (emphasis added).                     Otherwise, he could only be certain of avoiding liability by holding
                                                                  his tongue, causing him ‘to make only statements which ‘steer far
Q. And the Mayors surrounding Seattle, what do they               wide [ ] of the unlawful zone.’”)). Id. at 1277.
tell Mr. Larkin in this letter that was ultimately
forwarded to Mr. Lacey? Can you read it?                        • The Court also held that “it unlikely that Defendants would be able
A. “We the undersigned mayors of the cities in                    to prove that all online advertisements for escort services are ads for
Washington State, write to urge you to take steps to              prostitution. Thus, a website that contains a section for postings
prevent the use of Backpage.com for underage sex                  for escort services that chooses to either shut down that section or
trafficking by requiring in-person verification of any            require age verification will likely chill protected speech in the
prospective escort advertiser’s ID, as well as proof of           course of doing so.” Id. at 1282 (emphasis added).
identity and age for anyone pictured in an escort ad.
There is an urgent need to act quickly, as our cities have
continued to find advertisements on your site that
reflect underage sex trafficking in recent weeks . . . .
Backpage.com does not employ adequate safeguards to
prevent underage sex trafficking. To place an ad on
Backpage.com, all one has to do is check a box saying
that the person featured in the ad is over 18. Other


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Ferrer Testimony                                         “Opens Door” to:
advertising services require a photo ID to be brought to
an office, in person, to verify age . . . .”
Q. Let me just stop you there. Was there at any point in
the history of Backpage from 2004 to 2018 that you
required in-person proof of who you were and what
age you were?
MS. BERTRAND: Objection. Argumentative. Leading.
THE COURT: Overruled.
THE WITNESS: No.
BY MR. RAPP:
Q. All right. And if you would go on starting with “We
believe.”
A. “We believe this practice is substantially more
effective at rooting out under[age] sex tracking. In the
last 18 months the City of Seattle has not found any
evidence of underage sex trafficking on sites requiring
photo ID. Since the beginning of 2010, 22 children
advertised on Backpage.com were recovered by the
Seattle Police Department. The Tacoma Police
Department reports that they are currently working on 16
cases of juvenile prostitution involving 14 persons who
had Backpage.com ads. “We urge to you take quick
action and help us address underage sex trafficking
by requiring photo ID. Sincerely.”
Q. Now, did you continue to receive letters from the
National Association of Attorney Generals?
A. Yes.

[09/19/23 AM Tr. at 80:3-81:17] (emphasis added).


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Ferrer Testimony                                        “Opens Door” to:
A. The second bullet point is that AG McKenna has been
attacking Backpage in Washington state, and so we just
are going to try to attack him, attack him from getting
campaign donations from Bing, and then Bing is a search
engine that strikes content.

[09/19/23 PM Tr. at 41:25-42:4]
Q. And in 2012, if you know, were you experiencing any     • Defendants should be permitted to cross-examine Mr. Ferrer
pressure regarding the website?                              regarding what investigation he was referring to and the result of
A. Yes, there was another prostitution investigation of      that investigation.
the site.                                                  • If Defendants are not permitted to do so, then the jury will be left
                                                             with the misimpression that a “prostitution investigation” in 2012
[09/13/23 AM Tr. at 80:5-7]                                  produced an adverse result for Backpage and the Defendants.


Q. All right. And then No. 2, what is -- what is the
second agenda item?
A. The second agenda item is, “fallback business plan
scenarios in 2013 if business interrupted.”
Q. What did you take that to mean?
A. We’re under a lot of pressure from different groups
and the media. We’re under investigation, that we’re
wondering what is our business plan in the event that we
have to turn off the adult section.

[09/20/23 AM Tr. at 47:2-10] (emphasis added).

References to attorneys, including Samuel Fifer, Steve     • To the extent there are communications in admitted exhibits
Suskin, and Edward McNally.                                  involving these attorneys, Defendants should be permitted to
                                                             question Mr. Ferrer about those communications, as doing so does
     3891321.1                                                 5
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Ferrer Testimony                                             “Opens Door” to:
Q. Okay. Steve Suskin, who is that?                               not require the waiver of any privilege or assertion of a formal
A. Steve Suskin is in-house counsel, Village Voice                advice of counsel defense.
Media.

[9/15/23 Tr. at 41:4-5]


Q. How is it, sir, that you received this document?
A. It was a document that went to Sam Fifer that was
eventually sent to us indicating problems that Backpage
had that they wanted to address.
Q. Okay. When you say us,” who are you referring to?
A. Myself, Scott Spear, the owners, Jed Brunst.
Q. All right. And this letter is -- how many pages is this
letter?
A. Three pages.
Q. All right. And you identify the individual went to -- I
believe you said his name was Sam Fifer. Who is Sam
Fifer?
A. Sam Fifer was a lawyer that Scott Spear engaged.

[09/13/23 PM Tr. at 76:14-25]


Q. And who are the signatories of this letter?
A. These are Attorneys Generals from most of the U.S.
states.
Q. All right. And who is this letter addressed to?
A. It’s addressed to Mr. Sam Fifer, counsel for
Backpage.com,
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Ferrer Testimony                                            “Opens Door” to:
LLC.

[09/19/23 AM Tr. at 81:23-82:2]


Q. So when we broke, I believe you were testifying that
the portion that starts with Dear Councilman Burgess you
didn’t write?
A. Correct. I did not write it.
Q. Who do you believe wrote this?
A. Edward McNally who was hired by Jim Larkin.

[09/19/23 AM Tr. at 57:24-58:4]

See, e.g., Exhs. 52, 804, 902, 938, 1185a (as revised per
the Court’s order to show Mr. Suskin’s statements to
CNN).

Government admitted Exhibit 23 through Ferrer.                • Lacey must have the opportunity to show that this arrest – for his
[09/12/23 AM Tr. at 70-71].                                     anticipation in protected expression by publishing – was not
                                                                warranted and, in fact, violated the Constitution, as recognized by
Page 8 of Exhibit 23 states that: “Larkin and Lacey             the Ninth Circuit in an en banc opinion. This decision then resulted
[were] arrested by Arpaio.”                                     in Maricopa County paying a settlement, which Larkin and Lacey
                                                                stated that they would donate to, among other things, organizations
                                                                dedicated to protecting free speech on the internet.
Q. Do you know if Craigslist is receiving any pressure?       • Defendants must have the opportunity to put before the jury
MS. BERTRAND: Seek speculation.                                 everything that they “follow[ed]” about Craigslist including
THE COURT: Overruled, “yes” or “no.”                            Craigslist’s announcement with the National Association of
THE WITNESS: Yes.                                               Attorney’s General, litigation involving Craigslist, information on
BY MR. RAPP: Q. How do you know that?
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Ferrer Testimony                                              “Opens Door” to:
A. We follow Craigslist and the news closely, and he’s             Craigslist’s blog, and Congressional testimony concerning
under frequent attacks from the Attorneys General.                 Craigslist.

[9/13/23 PM Tr. at 71:3-21]


Q. So starting down here, does this give you any type of
notice, this Google alert?
A. Yes, it does and. . .
Q. What does it tell you?
A. It states, So. Carolina eyes ‘criminal investigation’ of
Craigslist

[09/13/23 PM Tr. at 73:20-25]

Q. All right. And what changes did you understand
Craigslist was making with its adult section?
A. Well, he had two sets of changes. One was erotic
services cancelled, and then it all moved to adult
services; and then later he terminated adult services.
Q. All right. And did you -- did it come to your attention
that Craigslist -- did Craigslist have a blog?
A. Yes, he had a blog.
Q. When you keep saying “he,” who are you --
A. Craigslist, Craig Newmark and Jim Buckmaster often
posted in the blog, the Craigslist blog.

[09/13/23 Tr. PM at 112:8-18]



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Ferrer Testimony                                          “Opens Door” to:
Q. And was there some type of a testimony that you were
– of Mr. Allen that you were made aware of?
A. Yes.
Q. And does Mr. Spear alert you to that testimony?
A. Yes. He gives me a summary of the testimony.
Q. Okay.
MR. RAPP: Move to admit 925.
MR. FEDER: Same.
THE COURT: Yes, it may be admitted.
(Exhibit 925 admitted into evidence.)
THE COURT: And it may be published.
BY MR. RAPP:
Q. All right. And so what does Mr. Spear tell you in this
email below here?
A. Scott Spear writes, “Just finished. We got called out
once with CL. Lots of history of the CL saga over the
last two years. He strayed from script at times.”
Q. And what does Mr. Larkin say to Mr. Spear in
response?
A. Jim Larkin writes, “I’ve got the hearing up. Do we
know anything about the underage example Ernie Allen
cited from Backpage? Did they ever notify us of this?"”

[9/14/23 AM Tr. at 51:25-52:18]

Ferrer testified today that: (1) he came to learn during the   • The “pressure” Mr. Ferrer testified to was in fact exerted by Sheriff
first week of July 2015 that Visa and MasterCard                 Dart. As contemporaneous emails and Mr. Ferrer’s statements to
terminated their relationships with Backpage and (2) the         the government (as documented in FBI 302s) will show, Ferrer
credit card companies did so in the face of “pressure put        understood that (1) Dart was exerting pressure on Visa and
                                                                 Mastercard and (2) Backpage sued Dart in response, and ultimately
      3891321.1                                                    9
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Ferrer Testimony                                             “Opens Door” to:
on them.” He also referred to this as the “credit card            prevailed, which put Ferrer and Defendants on notice that the
apocalypse.”                                                      terminations were due to illegal coercion by a government official.

Today, the Government showed Mr. Ferrer the Senate              • The Senate Permanent Subcommittee on Investigations is a quasi-
PSI Report and elicited testimony that Ferrer read it, the        judicial body. As the government was permitted to ask Mr. Ferrer
report was publicly available, as well as testimony               about that committee’s investigation of Backpage and its final
regarding Ferrer’s reaction to the report.                        report/findings of fact (a quasi-judicial opinion), Defendants should
                                                                  be permitted to do the same as to court opinions that Ferrer was
                                                                  aware of and relied on, as those opinions counter the government’s
                                                                  “notice” evidence.




      3891321.1                                                     10
